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                                                                                 p
                         IN THE UNITED STATES DISTRICT COURT
                                                                                      I MAY 2 I 2024              \J\
                                                                                      i
                        FOR THE EASTERN DISTRICT OF VIRGINIA                     CL       A   «
                                                                                                  V c,
                                                                                                         PiC'i COURT



                                        Richmond Division


UNFEED STATES OF AMERICA,                             )       CRIMINAL NO.        3:24cr
                                                      )
       V.                                             )       21 U.S.C. § 846
                                                      )       Conspiracy lo Possess
QUENTIN HELGREN,                                      )       With the Intent to Distribute
     aka "Q,"                                         )       and Distribute 50 Kilograms or More
                                                      )       of Marijuana
                                                      )       (Count One)
       Defendant.                                     )
                                                      )      21 U.S.C. § 841(a)(1) and (b)(1)(C)
                                                      )       Possession With the Intent to
                                                      )       Distribute and Distribute 50
                                                      )       Kilograms or More of Marijuana
                                                      )       (Count Two)
                                                      )
                                                      )      Forfeiture Notice


                                 May 2024 Terni- at Richmond. Virginia

                                         INDICTMENT


       THE GRAND JURY CHARGES THAT:


                                          COUNT ONE

            (Conspiracy to Possess witii the Intent to Distribute 50 Kilograms or More
                                           of Marijuana)

       F'rom in or about April 2023. the exact date unknown, and continuously thereafter up

until November 27, 2023. in the Eastern District of Virginia, Northern District of California, and

elsewhere within the jurisdiction of this Court, the defendant QUEN'flN HELGREN. along with

other co-conspirators, did knowingly and intentionally combine, conspire, confederate, and agree

with other persons, to commit the following offenses against the United States: to knowingly and

intentionally possess with the intent to distribute and distribute 50 kilograms or more of a
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mixture and substance containing a detectable amount of marijuana, a Schedule I controlled

substance, in violation of Title 21, United Stales Code, Sections 841(a)(1) and (b)(1)(C).

(In violation of Title 21, United States Code, Section 846)

                                          COUNT TWO
          (Possession with the Intent to Distribute and Distribute 50 Kilograms or More
                                           of Marijuana)

       On or about November 27, 2023, in the Eastern District of Virginia, the defendant.

QUENTIN HELGREN did knowingly and intentionally possess with the intent to distribute and

distribute 50 kilograms or more of a mixture and substance containing a detectable amount of
                       X
marijuana, a Schedule IT^ontrolled substance.

(In violation of Title 21, United States Code, Section 841(a)(1) and (b)(1)(C))

                                 FORFEITURE ALLEGATION


       Pursuant to Rule 32.2(a) Fed. R. Crim. P., the defendant is notified that upon conviction

of the offenses charged in Count One or Count Two of this Indictment, the defendant shall forfeit

to the United States any property constituting, or derived from, any proceeds obtained, directly

or indirectly, as a result of the offenses charged; and any property used, or intended to be used, in

any manner or part, to commit or to facilitate the commission of the offenses charged.

       Property subject to forfeiture includes, but is not limited to, the following:

           ●   A 1978 Cessna, model T210N, serial number 21063073, bearing tail number
               N6499N, registered to QUENTIN HELGREN and all associated flight logs, air
               worthiness certificates, keys, and log books, including the historical maintenance
               log books.




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        If property subject to forfeiture cannot be located, the United States will seek an order

forfeiting substitute assets.

        (In accordance with Title 21, United States Code, Section 853.)

                                              A TRUE BILL:



                                                   Pursuant to the E-Govemmant Act,
                                                  Ac original of this page has been filed
                                                     itoder seal in the Gwk’s Office




       JESSICA D. ABER
       UNITED STATES ATTORNEY




By:
       Erik S. Siebert
       Assistant United States Attorney
